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IN THE UNITED STATES DISTRICT COURT pyr ang 5

FOR THE MIDDLE DISTRICT OF GEORGIA

UNITED STATES OF AMERICA,

PLAINTIFF

Case No. | pe “ON - 76-3 (Ws)

TERRELL COUNTY, GEORGIA;

WILBUR T. GAMBLE, JR., CHAIRMAN,
TERRELL COUNTY BOARD OF
COMMISSIONERS;

JOHN W. BOWENS, SHERIFF;

LARRY ATHERTON SR., LUCIUS
HOLLOWAY, BOB RAINEY, BLAKE VANN,
MEMBERS, TERRELL COUNTY BOARD OF
COMMISSIONERS

COMPLAINT

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DEFENDANTS

THE UNITED STATES OF AMERICA alleges:

1. The Attorney General files this complaint on behalf
of the United States of America pursuant to the Civil Rights
of Institutionalized Persons Act of 1980, 42 U.S.C. § 1997,
to enjoin the named Defendants from depriving persons
incarcerated at the Terrell County Jail, located in Dawson,
Georgia, of rights, privileges, or immunities secured and
protected by the Constitution of the United States.

JURISDICTION AND VENUE
2. This Court has jurisdiction over this action under

28 U.S.C. § 1345.
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3. The United States is authorized to initiate this
action pursuant to 42 U.S.C. § 1997a.

4. The Attorney General has certified that all
pre-filing requirements specified in 42 U.S.C. § 1997b have
been met. The Certificate of the Attorney General is
appended to this Complaint and is incorporated herein.

5S. Venue in the Middle District of Georgia is proper
pursuant to 28 U.S.C. § 1391.

DEFENDANTS

6. Defendant TERRELL COUNTY is a governmental
subdivision created under the laws of the State of Georgia.
The Terrell County Sheriff’s Office is a division of the
Terrell County government. The County owns and operates the
Terrell County Jail (“TCJ”), located in Dawson, Georgia.

7. Defendant TERRELL COUNTY is the entity charged by
the laws of the State of Georgia with authority to maintain
the TCJ and is responsible for the conditions of confinement
and health and safety of persons incarcerated at TCJ.

8. Defendant WILBUR T. GAMBLE, JR. is the Chairman of
the TERRELL COUNTY BOARD OF COMMISSIONERS and serves as the
chief administrator of the County government. Chairman

GAMBLE is sued in his official capacity.
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9. Defendant JOHN W. BOWENS is the Sheriff of the
Terrell County Jail and is responsible for the day-to-day
operations of TCU. In his official capacity as Sheriff, he
has the custody, control, and charge of the jail and
inmates. Sheriff BOWENS is sued in his official capacity.

10. Defendants LARRY ATHERTON, LUCIUS HOLLOWAY SR.,
BOB RAINEY, and BLAKE VANN are members of the Terrell County
BOARD OF COMMISSIONERS. As the County’s governing
authority, the Board has funding, claims resolution, and
oversight powers over TCJ. The Defendant Board members
ATHERTON, HOLLOWAY, RAINEY, and VANN are sued in their
official capacities.

11. Defendants are legally responsible, in whole or in
part, for the operation and conditions of TCJ, and for the
health and safety of persons incarcerated in TCJ.

12. At all relevant times, the Defendants or their
predecessors in office have acted or failed to act, as
alleged herein, under color of state law.

FACTUAL ALLEGATIONS

13. The Terrell County Jail is an institution within
the meaning of 42 U.S.C. § 1997(1).

14. Persons confined to the Terrell County Jail

include both pre-trial detainees and sentenced inmates.
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15. Defendants have engaged in and continue to engage
in a pattern or practice of failing to protect inmates at
the Terrell County Jail from serious harm and undue risk of

serious harm by, inter alia, failing to provide adequate

 

safety, failing to provide adequate medical and mental
health care, failing to provide adequate fire safety, and
failing to provide sanitary living conditions.

16. The factual allegations set forth in paragraph 15
have been obvious and known to Defendants for a substantial
period of time; yet Defendants have failed to address
adequately the conditions described.

VIOLATIONS ALLEGED

17. Through the acts and omissions alleged in
paragraphs 15 and 16, Defendants have exhibited deliberate
indifference to the health and safety of Terrell County Jail
inmates, in violation of the rights, privileges, or
immunities of those inmates as secured or protected by the
Constitution of the United States. U.S. Const. amend. VIII,
XIV.

18. Unless restrained by this Court, Defendants will
continue to engage in the acts and omissions set forth in

paragraph 15 that deprive persons confined in the Terrell
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County Jail of rights, privileges, or immunities secured or
protected by the Constitution of the United States.
PRAYER FOR RELIEF

19. The Attorney General is authorized under
42 U.S.C. § 1997 to seek equitable and declaratory relief.

WHEREFORE, the United States prays that this Court
enter an order permanently enjoining Defendants, their
officers, agents, employees, subordinates, successors in
office, and all those acting in concert or participation
with them from continuing the acts, omissions, and practices
set forth in paragraph 15 above, and that this Court require
Defendants to take such actions as will ensure lawful
conditions of confinement are afforded to inmates at the
Terrell County Jail. The United States further prays that
this Court grant such other and further equitable relief as
it may deem just and proper.

Respectfully submitted,

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JOHN ASHCROFT

Attorney General of the
United States

 
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Office of the Attorney General
Washington, D.C. 20530

 

CERTIFICATE OF THE ATTORNEY GENERAL

I, JOHN ASHCROFT, Attorney General of the United States,
certify that with regard to the foregoing Complaint, United
States v. Terrell County, Georgia, I have complied with all
subsections of 42 U.S.C. § 1997b(a) (1). I certify as well that I
have complied with all subsections of 42 U.S.C. § 1997b(a) (2). I
further certify, pursuant to 42 U.S.C. § 1997b(a) (3), my belief
that this action by the United States is of general public
importance and will materially further the vindication of rights,
privileges, or immunities secured or protected by the
Constitution of the United States.

In addition, I certify that I have the “reasonable cause to
believe,” set forth in 42 U.S.C. § 1997a(a), to initiate this
action. Finally, I certify that all prerequisites to the
initiation of this suit under 42 U.S.C. § 1997, have been met.

Pursuant to 42 U.S.C. § 1997a(c), I have personally signed
the foregoing Complaint. Pursuant to 42 U.S.C. § 1997b(b), I am
personally signing this Certificate.

Signed this 17 day of V+ 2004, at Washington,

O JOHN ASHCROFT

Attorney General
of the United States

D.C.

 
